                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE                   Motion GRANTED.
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
         Plaintiff,                           )
                                              )        No. 3:14-cr-00101
v.                                            )
                                              )        The Honorable Aleta Trauger
AMIR BABAK BANYAN,                            )        U.S. District Court Judge
a/k/a Bobby Banyan                            )
                                              )
         Defendant.                           )


                        MOTION TO WAIVE PERSONAL APPEARANCE
                       AT HEARING ON MOTION TO CONTINUE TRIAL

         Comes now the Defendant, Amir Babak Banyan, a/k/a Bobby Banyan, by and through

counsel, and respectfully moves this Court to waive his personal appearance at the hearing on the

motion to continue trial presently scheduled in this matter for January 29, 2015, at 4 pm. As a

basis for this motion, the Defendant states as follows:

         1.      On January 20, 2015, counsel for co-defendant Bryan Puckett filed a motion to

continue the trial date in this case due to the substitution of counsel and the need for new counsel

to become acquainted with the voluminous discovery in this matter. Defendant Banyan does not

oppose this request, but the government has expressed its opposition.

         2.      On January 21, 2015, this Court set Mr. Puckett’s motion for a hearing.

         3.      At the present time, Mr. Banyan is working on a job that requires him to be in

Southern California, and he needs this employment to assist in the payment of legal fees. If Mr.

Banyan were required to fly to Tennessee for the hearing, the costs of this travel and the lost

wages from his employment would create a financial hardship. Counsel for Mr. Banyan are

located in Nashville and will be present at the hearing.

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     Case 3:14-cr-00101      Document 48          Filed 01/29/15   Page 1 of 1 PageID #: 108
